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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

UNITED STATES OF AMERICA                             Case Number: 8:18-cr-537-T-35JSS

v.                                                   USM Number: 73549-018

JUSTIN RUTH                                          Wesley E. Trombley, CJA


                              JUDGMENT IN A CRIMINAL CASE

Defendant pleaded guilty to Count One of the Superseding Indictment. Defendant is adjudicated
guilty of this offense:
                                                                    Date Offense           Count
     Title & Section          Nature of Offense                     Concluded              Number
     18 U.S.C. §§ 922(g)(1)   Possession of a Firearm by Felon      December 7, 2017       One
     and 924(a)(2)

Defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Original Indictment and Count Two of the Superseding Indictment are dismissed on the motion of
the United States.

IT IS ORDERED that Defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, Defendant
shall notify the Court and United States Attorney of any material change in Defendant’s economic
circumstances.

                                               Date of Imposition of Judgment:

                                               January 12, 2021




                                               January 12, 2021


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                                       IMPRISONMENT

      Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of TIME SERVED.




                                            RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to ______________________________________


at _________________________________________________, with a certified copy of this
judgment.



                                             UNITED STATES MARSHAL


                                             By:
                                             Deputy U.S. Marshal




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                                   SUPERVISED RELEASE

    Upon release from imprisonment, Defendant will be on supervised release for a term of
THREE (3) YEARS.


                               MANDATORY CONDITIONS

1.    Defendant shall not commit another federal, state or local crime.
2.    Defendant shall not unlawfully possess a controlled substance.
3.    Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall
      submit to one drug test within 15 days of release from imprisonment and at least two
      periodic drug tests thereafter, as determined by the court.
4.    Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.


        Defendant shall comply with the standard conditions that have been adopted by this court
(set forth below).

      Defendant shall also comply with the additional conditions on the attached page.




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                       STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, Defendant shall comply with the following standard conditions
of supervision. These conditions are imposed because they establish the basic expectations for your
behavior while on supervision and identify the minimum tools needed by Probation Officers to keep
informed, report to the court about, and bring about improvements in your conduct and condition.

1.    Defendant shall report to the Probation Office in the federal judicial district where you are
      authorized to reside within 72 hours of your release from imprisonment, unless the Probation
      Officer instructs you to report to a different Probation Office or within a different time frame.
      After initially reporting to the Probation Office, Defendant will receive instructions from the
      court or the Probation Officer about how and when Defendant must report to the Probation
      Officer, and Defendant must report to the Probation Officer as instructed.
2.    After initially reporting to the Probation Office, you will receive instructions from the court
      or the Probation Officer about how and when Defendant shall report to the Probation Officer,
      and Defendant shall report to the Probation Officer as instructed.
3.    Defendant shall not knowingly leave the federal judicial district where you are authorized to
      reside without first getting permission from the court or the Probation Officer.
4.    Defendant shall answer truthfully the questions asked by your Probation Officer
5.    Defendant shall live at a place approved by the Probation Officer. If you plan to change where
      you live or anything about your living arrangements (such as the people you live with),
      Defendant shall notify the Probation Officer at least 10 days before the change. If notifying
      the Probation Officer in advance is not possible due to unanticipated circumstances,
      Defendant shall notify the Probation Officer within 72 hours of becoming aware of a change
      or expected change.
6.    Defendant shall allow the Probation Officer to visit you at any time at your home or
      elsewhere, and Defendant shall permit the Probation Officer to take any items prohibited by
      the conditions of your supervision that he or she observes in plain view.
7.    Defendant shall work full time (at least 30 hours per week) at a lawful type of employment,
      unless the Probation Officer excuses you from doing so. If you do not have full-time
      employment Defendant shall try to find full-time employment, unless the Probation Officer
      excuses you from doing so. If you plan to change where you work or anything about your
      work (such as your position or your job responsibilities), Defendant shall notify the Probation
      Officer at least 10 days before the change. If notifying the Probation Officer at least 10 days
      in advance is not possible due to unanticipated circumstances, Defendant shall notify the
      Probation Officer within 72 hours of becoming aware of a change or expected change.
8.    Defendant shall not communicate or interact with someone you know is engaged in criminal
      activity. If you know someone has been convicted of a felony, Defendant shall not knowingly
      communicate or interact with that person without first getting the permission of the Probation
      Officer.
9.    If you are arrested or questioned by a law enforcement officer, Defendant shall notify the
      Probation Officer within 72 hours.
10.   Defendant shall not own, possess, or have access to a firearm, ammunition, destructive
      device, or dangerous weapon (i.e., anything that was designed, or was modified for, the

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      specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   Defendant shall not act or make any agreement with a law enforcement agency to act as a
      confidential human source or informant without first getting the permission of the court.
12.   If the Probation Officer determines that you pose a risk to another person (including an
      organization), the Probation Officer may require you to notify the person about the risk and
      Defendant shall comply with that instruction. The Probation Officer may contact the person
      and confirm that you have notified the person about the risk.
13.   Defendant shall follow the instructions of the Probation Officer related to the conditions of
      supervision.


U.S. Probation Office Use Only

A U.S. Probation Officer has instructed me on the conditions specified by the court and has
provided me with a written copy of this judgment containing these conditions. For further
information regarding these conditions, see Overview of Probation and Supervised Release Conditions,
available at: www.uscourts.gov.


Defendant’s Signature:                                              Date:




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                 ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1.    Defendant shall participate in a substance abuse program (outpatient and/or inpatient) and
      follow the Probation Officer’s instructions regarding the implementation of this court
      directive. Further, Defendant shall contribute to the costs of these services not to exceed an
      amount determined reasonable by the Probation Office’s Sliding Scale for Substance Abuse
      Treatment Services. During and upon completion of this program, Defendant is directed to
      submit to random drug testing.

2.    The mandatory drug testing provisions shall apply pursuant to the Violent Crime Control
      Act. Based on the probation officer's determination that additional drug urinalysis is
      necessary, the Court authorizes random drug testing not to exceed 104 tests per year.
      Defendant shall refrain from any unlawful use of a controlled substance. Further the
      defendant shall submit to one drug within 15 days of placement on supervision and at least 2
      periodic drug tests thereafter as directed by the probation officer.

3.    Defendant may travel to undertake potential employment opportunity, should Probation
      determine the work opportunity is legitimate.




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                            CRIMINAL MONETARY PENALTIES

     Defendant must pay the following total criminal monetary penalties under the schedule of
payments set forth in the Schedule of Payments.
Assessment      Restitution                Fine            AVAA Assessment            JVTA Assessment

$100.00               N/A               WAIVED                  N/A                     N/A




                                  SCHEDULE OF PAYMENTS

Having assessed Defendant’s ability to pay, payment of the total criminal monetary penalties is due
as follows:

                 Special Assessment shall be paid in full and is due immediately.

Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the
Court, unless otherwise directed by the Court, the Probation Officer, or the United States attorney.

Defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community
restitution, (8) JVTA assessment, and (9) penalties, and (10) costs, including cost of prosecution and
court costs.




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